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                       IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF
                                 EASTERN DIVISION

 PATHWAY IP LAW,

                Plaintiff,                          Case No.: 1:24-cv-05218

         v.                                         Judge Franklin U. Valderrama

 THE INDIVIDUALS, CORPORATIONS,                     Magistrate Judge Jeffrey T. Gilbert
 LIMITED LIABILITY COMPANIES,
 PARTNERSHIPS, and                                  JURY TRIAL DEMAND
 UNINCORPORATED ASSOCIATIONS
 IDENTIFIED ON THE ATTACHED
 SCHEDULE “A,”

                Defendants.


              JOINT SUPPLEMENT TO THE JOINT RULE 26(f) REPORT

       Pursuant to Local Patent Rule (“LPR”) 3.5 of the Northern District of Illinois, Appendix

A, Section 7(g) of the LPR, and the Court’s September 12, 2024 Minute Entry [171], Plaintiff

Pathway IP, LLC (“Pathway”) and certain Appearing Defendants, as identified below, submit the

following joint Supplement to the Joint Rule 26(f) Report [152]:

Per Local Patent Rule 3.5(a), 1 advise with respect to each patent in suit:

(1) whether the patent is eligible to be challenged at the USPTO by each defendant,

   RESPONSE:           U.S. Patent No. 7.841,729 B2 (“Plaintiff’s Patent”) is eligible to be

   challenged at the USPTO by all Defendants in accordance with the information found below.




1 Appendix A, Section 7(g) of the LPR references LPR 3.5(b) as the controlling rule, however,

based upon the language contained in section 7(g), we believe the appropriate reference to the LPR
is 3.5(a), and have thus stated the above in accordance with that belief.


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(2) what form such a challenge may take (inter parties review, post grant review, covered

   business method review, ex parte reexamination, etc.),

   RESPONSE:             Plaintiff’s Patent was issued prior to the AIA going into effect. Therefore,

   the patent cannot be challenged in a post grant review or a covered business method review.

   Defendants may challenge via an inter partes review (IPR), by requesting a reexamination, or

   by challenging it in this Court or any federal courts that has jurisdiction over the validity of

   Plaintiff’s Patent.

(3) the earliest and latest date such a challenge is permitted to be made for each defendant,

   RESPONSE:             Defendants can currently challenge Plaintiff’s Patent via an IPR, ex parte

   reexamination, or in this Court during the course of litigation, but may not challenge Plaintiff’s

   Patent through an IPR after August 8, 2025 (one (1) year after being served with the original

   Complaint in this matter) and through an ex parte reexamination after September 15, 2034.

(4) whether the patents in suit have been the subject of prior USPTO reviews and, if so, the

   status of the same, and

   RESPONSE:             Plaintiff’s Patent has not been the subject of any prior USPTO reviews.

(5) any other prior litigation history of the patents in suit and the status of the same.

   RESPONSE:             To the best of the Plaintiff’s knowledge, Plaintiff Patent does not have any

   prior litigation history and has not been the subject of any previous lawsuits.




Respectfully submitted on October 2, 2024 by:

       [Signatures on following pages]




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